                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION


 FAYETTEVILLE PUBLIC LIBRARY, a political
 subdivision in the City of Fayetteville, State of
 Arkansas; et al.

                                                                                     PLAINTIFFS

 v.                                  NO. 5:23-CV-05086


 CRAWFORD COUNTY, ARKANSAS; et al.

                                                                                  DEFENDANTS


                         DECLARATION OF MATTHEW D. STRATTON
      I, Matthew D. Stratton, pursuant to 28 U.S.C.§ 1746, do declare:

      1. I am the Deputy General Counsel of the Association of American Publishers (“AAP”), a

plaintiff in this action. I make this declaration in support of plaintiffs’ motion for summary

judgment.

      2. AAP is a not-for-profit organization that represents the leading book, journal, and

education publishers in the United States on matters of law and policy, advocating for outcomes

that incentivize the publication of creative expression, professional content, and learning

solutions. AAP’s membership includes approximately 130 individual members, who range from

major commercial book and journal publishers to small, non-profit, university, and scholarly

presses, as well as leading publishers of educational materials and digital learning platforms.

AAP’s members publish a substantial portion of the general, educational, and religious books

produced in the United States in print and digital formats, including critically acclaimed, award-



123889327\V-5
winning literature for adults, young adults, and children. AAP represents an industry that not

only depends upon the free exercise of rights guaranteed by the First Amendment, but also exists

in service to our Constitutional democracy, including the unequivocal freedoms to publish, read,

and inform oneself.

    3. Section 1 of Act 372 of 2023 (“Act 372”), which prohibits making books that are “harmful

to minors” available to minors, forces this large quantity of constitutionally protected materials to

be segregated for older minors and adults, and not prominently displayed. Section 5 provides

flawed procedures for challenges to books’ appropriateness.

    4. When access to books is restricted such as is contemplated by Sections 1 and 5 of Act 372,

it affects the ability of publishers to disseminate important educational, scientific and literary

works; contribute to the economy and the culture; enrich our democracy; and support authors.

    5. Publishers cannot fulfill their mission if their books are not available for readers to browse

and peruse, nor can publishers commercially succeed if their customers (such as libraries,

bookstores, and other retailers) are unable to sell or lend a large amount of constitutionally

protected books because of the inability to properly display them.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on this 10th day of May, 2024.

                                              /s/ Matthew D. Stratton
                                              Matthew D. Stratton




123889327\V-5
